
By the Court.
“ A majority of the court is of the opinion that the account filed G. Y. Roots, as assignee of The Mason City Coal &amp; Salt Co., on July 30, 1872, was for a final settlement of his accounts with said trust, and that the approval thereof by the probate court of this county on August 3,1872, and the order then made that Roots should turn ovej the property and assets of the said estate in his hands to Waddell, who had been legally appointed as assignee in bankruptcy of said company, operated to discharge Roots from such trust, and the executors of the will of said Roots cannot now be legally called upon or required by the probate court to file an additional account for the settlement of said trust; and that the order made, by the probate court on February 4/ 1891, directing such executors to file such account, was erroneous, and that it was such a final order as may be reviewed on error.”
■ Judge Smith dissents from this judgment, being of the opin*72ion that the order complained of was not such a final order as may thus be reviewed on error; and that the alleged settlement of August 3, 1872, was not a final settlement by Roots of said trust, the order of the probate court having been made within five days of the filing of the account, and therefore not dealt with as a final account for settlement; and that it did not purport to be a final settlement, but showed that there was a large amount of assets in the hands of the assignee, yet to be collected by Roots and paid to Waddell, and that the probate court in 1891 had full authority to order the executors ef Roots to file an additional and final account of the subsequent administration of the trust by Roots. If such account should show that all of the estate and assets, which came into the hends of Roots as assignee, had been administered by him, or turned over to Waddell, the assignee in bankruptcy, in obediance to the order of court, this would doubtless operate as a full discharge of Roots. But this was a matter to be determined on the filing of the account.
Sioing &amp; Morse, for plaintiffs in error.
Win. F. Avery and J. F. Pogue, for defendant in error.

Judgment reversed.

